 Case: 1:08-cr-00020-WAL-GWC             Document #: 100        Filed: 02/20/09     Page 1 of 3




            IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )                CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, OKIMO MELIGAN, and          )
ANDREA SOTO                         )
                                    )
            Defendants.             )
____________________________________ )


                                            ORDER
FINCH, SENIOR JUDGE

       THIS MATTER comes before the Court on Defendant Amon Thomas’s Motion in

Limine to Preclude Government from Introducing Certain Exhibits at Trial. The Government

has submitted an inventory of evidence seized pursuant to a search warrant including ski masks,

gloves, a gun case and numerous photographs of these items. The Government concedes that the

ski mask and gloves bear no relevance to the charges in this matter and will not introduce these

items or photos of these items into evidence.


   I. STANDARD OF REVIEW


       Federal Rule of Evidence 402 provides that evidence which is not relevant is not

admissible. Relevant evidence is evidence that tends to make the existence of a fact that is of

consequence more or less probable. Fed. R. E. 401. Even if evidence is relevant, it may not be

admissible for a number of reasons. Federal Rule of Evidence 403 provides for the exclusion of



                                                1
 Case: 1:08-cr-00020-WAL-GWC              Document #: 100        Filed: 02/20/09     Page 2 of 3




evidence whose probative value is substantially outweighed by the danger of unfair prejudice or

confusion.


    II. DISCUSSION


        Amon Thomas is charged in Counts 4, 5, 6 and 7 with possession of firearms. Therefore,

his possession of a firearm is necessarily a fact that is of consequence in this case. The Court

finds that the gun case seized from Amon Thomas’ property is relevant because his possession of

a gun case makes it more probable that he also possessed a firearm. Additionally, the Court

finds that the probative value of the gun case being used as evidence is not substantially

outweighed by the danger of unfair prejudice to Amon Thomas or confusion of the jurors.


        After careful consideration and the Court being fully advised in the premises, it is hereby


        ORDERED that Defendant Amon Thomas’ Motion in Limine to Preclude Government

from Introducing Certain Exhibits at Trial is GRANTED IN PART AND DENIED IN PART.

It is further

        ORDERED that, with regard to the gun case seized from Defendant Amon Thomas’

property, the Motion in Limine to Preclude Government from Introducing Certain Exhibits at

Trial is DENIED. It is further

        ORDERED that, with regard to the ski masks, gloves and any photographs of these

items, Defendant Amon Thomas’ Motion in Limine to Preclude Government from Introducing

Certain Exhibits at Trial is GRANTED. The Government may not introduce evidence of the ski

masks or gloves seized from Amon Thomas’ property and may not introduce any photographs of

these items at trial.




                                                 2
Case: 1:08-cr-00020-WAL-GWC     Document #: 100    Filed: 02/20/09   Page 3 of 3




    ENTERED this 20th day of February, 2009.


                                    _______________/s/_______________________
                                    HONORABLE RAYMOND L. FINCH
                                    SENIOR U.S. DISTRICT JUDGE
    .




                                       3
